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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE
In re: Chapter 11
W. R. GRACE & CO., et al.,' Case No. 01-01139 (IKF)

(Jointly Administered)

Debtors.

DEBTORS’ NOTICE OF ZAI CLAIM FILINGS AND OF HEARING

TO:

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The Debtors consist of the following 62 entities: W. R. Grace & Co. (ffk/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-f Bit & Tool Co.,
Inc., Alewifs Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.}, CCHP, Inc., Coalgrace, Inc., Coalgrace IL,
inc., Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Aimy, LLC (f/k/a Dewey and Almy Company), Ecarg, inc.,
Five Alewife Boston Lid., GC Limited Partners J, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc}, GC Management, Inc. (f/k/a Grace Cocoa Management, Ine.),
GEC Management Corporation, GN Holdings, inc., GPC Thomasvilic Corp., Gloucester New Communities Company, inc., Grace A-B Inc., Grace A-B il Inc., Grace
Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace
H.-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fk’a Dearborn International Holdings, Inc.}, Grace Offshore
Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace
Capital Corporation, W. R. Grace Land Corporation, Gracoal, Ine., Gracoal I, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homeo International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (fa GHSC Holding, Inc., Grace IVI, Inc., Asbestos
Management. Inc.}, Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (ik/a Nestor-BNA Holdings Corporation), MRA Intermedce, Inc,
(lkfa Nestor-BNA, Inc.}, MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.}, Remedium Group, Inc. ({/k/a Environmental Liability Management,
Inc., E&C Liquidating Corp. Emerson & Cuming, Inc.), Southern Gil, Resin & Fiberglass, inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners
({As/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.
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(Counsel of Record for Stephen B. Walsh)
PLEASE TAKE NOTICE THAT:

1. Debtors are hereby serving you with copies of the 10 Zonolite Attic Insulation
(“ZAY’) claims that the Debtors filed with the Court on April 12, 2002. Judge Judith K.
Fitzgerald, the bankruptcy judge presiding over all such ZAI claims, instructed Debtors at the last
hearing on April 22, 2002 to serve these claims on you, as well as on the named plaintiffs. Since
Debtors may not have the current addresses of the named plaintiffs, Judge Fitzgerald requested

that you either confirm that you have delivered the claim to your client(s), or notify Debtors of

your client(s)’ current address so we can serve them directly.
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2. Debtors are also hereby serving you with a proposed Order that we will ask Judge

Fitzgerald to enter at the next hearing in the case, on May 20, 2002 at 10:00 a.m. in her

courtroom in Wilmington, Delaware. Judge Fitzgerald has set May 13, 2002 as the deadline for

any responses or objections to this proposed order, and May 16th as the deadline for the Debtors’

reply to those responses.
Wilmington, Delaware

Dated: April 26, 2002

Respectfully submitted,

KIRKLAND & ELLIS

Lf.

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